 Case 2:21-cv-04569-JAK-KS          Document 59       Filed 11/02/23           Page 1 of 3 Page ID
UNITED STATES DISTRICT COURT #:416
 CENTRAL DISTRICT OF CALIFORNIA
       OFFICE OF THE CLERK
255 EAST TEMPLE STREET, ROOM 180
  LOS ANGELES, CALIFORNIA 90012

       OFFICIAL BUSINESS                                                                                            m
                                                                                                                    N


                                                                                                                    M
                                                                                                                    ~      ~
                                                                                                                    ~      ~
                                                                                                                    ~      ~
                                                                                                                    /`~    ~
                                                                                                                    n      ~
                                                  1                                                     t ~               ~~
                                                                                                                           Qr~

                                                                                                                          W ~ cj
                                                                                               7 ~~                       OQ~
                                                                                                                          ~ d.'
                                                                                                                          ++~ ~ O
                                                                                                              1'          V) d I.~
                                                                               ~CENTRAL DlST
                                                                               1               T O~ CAUFOR         ~ p wp
                                                                                BY                     DAP         W I— --~ F—
                                                                                                                   M    m
                                                                                                                          ~ d~
                                                                                                                      a ~~
                                                                                                                   m ~Wm
                                                                                                                   ~+ t-- > Q
                                                                                                                   Aa     u~ }-+z
                                                                                                                          ~ ~~
                                                                                                                            w
                                                                                                                            t]
                                                                                                                            F-
                                                                                                                   f+~      Q
                                                                                                                   ~"~      Z
                                                                                                                   X
                                                                                                                   H
                                                                                                                   a

               U.S._~~6TRfGT COII
                               .,,,~T


              ~Q~     2


        ~~,~J~   T OF CAL~ORNIA ~
        ~Y M►~V1~- --- — DEPUTY'


         Z -2~~vy~~,~

             ~~ ~.                                    ~~. ~ , ~_
                                                         ~ ~ ~ ~s
                                                       ~;~               j
                                                         ~..           .~'''
                                                                     :~

                                                             0   ~    ~~
Case 2:21-cv-04569-JAK-KS    Document 59 Filed 11/02/23   Page 2 of 3 Page ID
                                   #:417

Case: 2:21cv4569   Doc: 44




  Morrpress Trust
5760 Lindero Canyon Road
Westlake Village, CA 91362
Case 2:21-cv-04569-JAK-KS             Document 59 Filed 11/02/23               Page 3 of 3 Page ID
                                            #:418
 MIME-Version:l.0 From:cacd_ecfmail@cacd.uscourts.gov To:ecfnef@cacd.uscourts.gov
 Message-Id:<36689879@cacd.uscourts.gov>Subject:Activity in Case 2:21-cv-04569-JAK-KS United
 States of America v. Real Property Located in Malibu, California Deficiency in Electronically Filed
 Documents(G-112A)-optional html form Content-Type: text/html

 This is an automatic e-mail message generated by the CM/ECF system. Please DO NOT
 RESPOND to this e-mail because the mail box is unattended.
 *~*NOTE TO PUBLIC ACCESS USERS*** Judicial Conference of the United States policy
 permits attorneys of record and parties in a case (including pro se litigants) to receive one free
 electronic copy of all documents filed electronically, if receipt is required by law or directed by
 the filer. PACER access fees apply to all other users. To avoid later charges, download a copy of
 each document during this first viewing. However,if the referenced document is a transcript, the
 free copy and 30 page limit do not apply.

                              UNITED STATES DISTRICT COURT

                            CENTRAL DISTRICT OF CALIFORNIA

 Notice of Electronic Filing
 The following transaction was entered on 10/11/2023 at 9:31 AM PDT and filed on 10/11/2023

  Case Name:               United States of America v. Real Property Located in Malibu, Califoniia

  Case Number:             2:21-cv-04569-JAK-KS

  Filer:

   WARNING: CASE CLOSED on 07/13/2023

  Document Number:


 Docket Text:
 NOTICE TO FILER OF DEFICIENCIES in Electronically Filed Document RE: Notice
(Other)[42]. The following errors) was/were found: This case is closed. In response to this
 notice, the Court may:(1)order an amended or correct document to be filed;(2)order the
 document stricken; or(3)take other action as the Court deems appropriate. You need not take
 any action in response to this notice unless and until the Court directs you to do so.(yl)

 2:21-cv-04569-JAK-KS Notice has been electronically mailed to:
 Daniel G. Boyle caseview.ecf@usdoj.gov, usacac.criminal@usdoj.gov,
 gabriela.arciniega@usdoj.gov, tarleen.khauv@usdoj.gov,jonathan.wettstein@usdoj.gov,
 daniel.boyle2@usdoj.gov
 2:21-cv-04569-JAK-KS Notice has been delivered by First Class U.S. Mail or by other means
 BY THE FILER to
 Melvin Huges Louis
 1014 South Westlake Boulevard
 Westlake Village CA 91361
 US
 Morrpress Trust
 5760 Lindero Canyon Road
 Westlake Village CA 91362
 US
